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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

FLUOR INTERCONTINENTAL, INC.,

Plaintiff,
V.

IAP WORLDWIDE SERVICES, INC.,
READINESS MANAGEMENT
SUPPORT, L.C.,

Case No. 5:09-cv-00331-RS-EMT

Defendants &
Third Party Plaintiffs,

V.
JOHNSON CONTROLS, INC.,

Third Party Defendant.

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FLUOR INTERCONTINENTAL, INC.’S RESPONSE AND MEMORANDUM IN
OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION TO COMPEL
RESPONSES TO DISCOVERY REQUESTS CONCERNING MEDIATION

COMMUNICATIONS
Fluor Intercontinental, Inc. (“Fluor’), by and through its undersigned attorneys,
respectfully requests this Court enter an Order Denying IAP Worldwide Services, Inc.
and Readiness Management Support, L.C.’s (collectively, “Defendants’) Emergency
Motion to Compel Responses to Discovery Requests Concerning Mediation
Communications. In support thereof, Fluor states the following:
Background
1. The Defendants are seeking to do what is almost universally understood

to be impermissible. Defendants want this Court's permission to breach the

confidentiality and privileged nature of mediation communications and sanction the use
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of a mediation submission of Fluor against Fluor in the instant matter. This should not
be permitted.

2. The subject mediation submission was made and presented by Fluor
during a prior mediation involving the instant Parties as well as the United States Air
Force.

3. A brief summary of the case is as follows: Pursuant to a cost
reimbursable contract under a program known as “AFCAP”, the United States Air Force
issued a Task Order (“T.O. 5076”) for Defendants to build military housing units in
Qatar. Defendants then subcontracted most of the work to Fluor, also on a cost
reimbursement basis and with most of the same terms and conditions. The Air Force
was required to pay Defendants the costs they incurred during performance, and Fluor’s
costs, as costs “incurred” by Defendants, were passed on to the Air Force for payment.
Defendants were obligated to reimburse Fluor for its costs incurred and use the
payments received from the Air Force to pay Fluor. Because Defendants did not give
sufficient notice of the costs Fluor incurred to the Air Force, the Air Force refused to pay
Defendants much of the costs Fluor had incurred. Fluor then looked to Defendants, the
party which had the direct responsibility to pay Fluor for its work, to make it whole. To
resolve this issue, Defendants, motivated by a desire to avoid paying Fluor with its own
money, agreed to “sponsor’ a claim (and then an appeal to an administrative tribunal
known as the Armed Services Board of Contract Appeals (“ASBCA”)) on Fluor’s behalf
to obtain the costs of the work from the Air Force. The sponsorship of a claim by a
prime contractor is commonly employed when its subcontractor is the entity primarily

seeking cost recovery from the government, as there is no privity between the
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government and the subcontractor. The Parties, including the Air Force, ultimately went
to mediation and Fluor was paid a portion of the amounts due it. This lawsuit alleges
that Defendants engaged in conduct (e.g., lack of adequate notice and fraud and
misrepresentation regarding what was told to the Air Force about Fluor’s costs, and the
Air Force’s responses to Defendants) that has precluded Fluor from fully recovering its
costs of performing the military housing unit work from the Air Force. Defendants now
want to use mediation communications and statements made by Fluor counsel against
Fluor regarding the very issue that was central to both the ASBCA matter and the
current litigation. This is no different than having Parties mediate a matter and if the
mediation results in an impasse, allowing the parties to use the mediation
communications and statements made during settlement negotiations against each
other.

4. Further, the Defendants omit from their 20-page motion and memorandum
what they are really after—the statements and advocacy of counsel made at the
mediation for the purposes of settlement. These statements clearly fall within, and
arguably should be treated with a greater standard of confidentiality and privilege than
that which attaches to mediation proceedings. To see this the Court need only look at
the actual requests that are being challenged by Defendants in their “Emergency”
Motion: Request 11 (Fluor, by its counsel Vinson & Elkins, wrote the mediation
presentation); Request 12 (Fluor made, adopted, authorized, approved every statement

contained in the mediation presentation through Vinson & Elkins); Request 8 (Exhibit H

is the mediation presentation that Vinson & Elkins gave); Interrogatory 12 (explain the

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basis for your statement that Fluor was forced to settle for a lower sum).

5. Defendants are asking for permission to use confidential mediation
statements made by counsel for Fluor (Vinson & Elkins LLP) against Fluor in this case.
They want the Court to view the mediation submission in order to potentially taint its
perception of the case. This Court should decline to do so. They want to be able to use
the mediation presentation and statements as substantive evidence in a forthcoming
motion for summary judgment. This Court should not allow it. They also want the Court
to authorize asking Fluor’s witnesses and representatives about the statements made
by Fluor’s counsel during mediation. The Court cannot sanction such conduct.

MEMORANDUM OF LAW

\t is axiomatic that communications made during mediation are privileged and
confidential. There are a host of statutes, rules and cases that have long established
this principle. Federal Rule of Evidence 408 specifically prohibits “conduct or
statements made in compromise negotiations regarding the claim” when the same is
“offered to prove liability for, invalidity of, or amount of a claim” by any party. See Fed.
R. Evid. 408(a). Therefore, evidence of compromise or statements made during
settlement discussions or any communications during mediation are not to be used by

or against any party.? One of the primary rationales for excluding such evidence is “the

' Although Interrogatory 12 does not address Vinson & Elkins LLP by name, Defendants
are in essence asking Fluor to identify statements made by its counsel. Defendants go
so far as to say that this particular averment constitutes waiver over the entire mediation
presentation and communications made therein, and even the attorney-client privilege.
Contrary to RMS’ assertions, it does not.

2 Rule 408 lists several exceptions to this general principle, such as allowing evidence
tending to prove a witness’s bias or prejudice, negating a contention of undue delay,
and proving an effort to obstruct a criminal investigation or prosecution. See Fed. R.
Evid. 408(b). None of these permitted uses are applicable in this case.
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promotion of public policy favoring compromise and settlement of disputes.” See Fed.
R. 408, Comments to the1972 Proposed Rules. Defendants do not deny that Rule 408
encompasses the mediation submission that they seek to use. Instead, Defendants
contend that 408 should not apply because the mediation was conducted in a different
proceeding, relying primarily upon a hyper-technical reading of the Rule and finding
support in one Alabama case. Defendants have also cited Towerridge, Inc. v. T.A.O.,
Inc., 111 F.3d 758 (10th Cir. 1997), a case where the Circuit Court found that even if
Rule 408 does not bar the exclusion of evidence of settlement from a different claim
litigated, the admission of such evidence implicates the same concerns of prejudice and
may serve to deter settlements which underlie the policy behind Rule 408.
Notwithstanding these sound considerations for excluding the privileged mediation
communications, there is one key distinction in this case—the claims involved in the
mediation are the same claims involved in this litigation.

The mediation between the Parties and the Air Force, while certainly in a
different forum, was not a different claim. At the heart of the appeal against the Air
Force was Fluor looking to be made whole for its work on the project in Qatar.
Defendants were aware that if Fluor was not made whole by the Air Force, Fluor could
pursue the deficiency amount from Defendants, particularly since Defendants were
responsible for informing the Air Force of Fluor’s incurred costs. This lawsuit follows
directly from that deficiency and involves the same facts and issues. Thus, the claim,
while in a different proceeding was still the same claim at the heart of this controversy.
Either the Air Force or the Defendants could have resolved the entirety of the claim

during mediation. Instead, only a partial settlement was reached between Fluor and the
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Air Force because of the very same actions and inactions by Defendants, and
Defendants’ argument that Rule 408 does not act as a bar in this case lacks merit and
should be rejected.

The Eleventh Circuit announced the test for exclusion of privileged settlement
communications in Blu-J, Inc. v. Kemper C.P.A. Group, 916 F.2d 637 (11th Cir. 1990).
There, the Court held that the district court did not abuse its discretion when it excluded
a report (independent evaluation) prepared by an outside accounting firm agreed to by
the parties that was part of the parties’ settlement negotiations. The test for whether
statements fall under Rule 408 is “whether the statements or conduct were intended to
be a part of the negotiations toward compromise.” /d. at 642 (citing, Ramada Dev. Corp.
v. Rauch, 644 F.2d 1097, 1106 (5th Cir. 1981)). The Court stated that the independent
evaluation fell squarely within the Ramada test and under Rule 408 because it was
“intended to be part of negotiations toward compromise and was properly excluded by
the district court.” /d. In this case, there is no question that the mediation presentation
and communications were part of negotiations toward compromise, and as result, they
should be excluded.

It has also become evident to Fluor that the Defendants will attempt to use the
privileged mediation presentation as substantive evidence in support of a future motion
for summary judgment. But Rule 408, as well as other federal courts, prevents a party
from doing so. See Liesener v. Weslo, Inc., 775 F. Supp. 857 (D. Md. 1991). In
Lieseneri, the court held that an affidavit used in support of a motion for summary
judgment that incorporated statements made in settlement discussions was

inadmissible under Rule 408 because it went directly to the merits of a claim as
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opposed to a collateral matter. Similarly, in Honeywell, Inc. v. J.P. Maguire Co., 93 Civ.
5253, 1999 U.S. Dist. LEXIS 1872, at *72-73 (S.D.N.Y. Feb. 24, 1999), the court denied
defendant summary judgment on the contract amount and held that defendant's
calculation of an undue contract balance that was prepared and discussed during court-
ordered settlement negotiations between the parties was inadmissible under Rule 408.
in this matter, Defendants also petitioned this Court to review the mediation
presentation to otherwise potentially taint the Court’s view of the entire claim. It should
decline to do so. In Lincoln Diagnostics, Inc. v. Panatrex, Inc., No. 07-CV-2077, 2009
U.S. Dist. LEXIS 106544, at *18 (C.D. Ill. Nov. 16, 2009), the district court struck an
affidavit disclosing settlement communications between the parties relating to the
invalidity of plaintiff's claim for recovering attorneys’ fees and to dispute the amount of
the attorney's fees requested, which “fit squarely under the Rule’s [FRE 408]
prohibition.” The court further noted that “it is not the practice of this court to ever
consider anything said or offered during a settlement conference when ruling on matters
pending in litigation because of its desire to maintain confidentiality so important to
settlement negotiations.” /d. at *18-19.° This same principle applies in this case as well.
There is well-established law in this Circuit and in other federal courts that
support the exclusion of the privileged mediation communications that Defendants seek
to use. In Rubery v. Buth-Na-Bodhaige, Inc., 470 F. Supp. 3d 273 (W.D.N.Y. 2007), the
district court held that a chart prepared by defendant’s counsel and “sent to plaintiff
during the course of settlement negotiations between the parties” was inadmissible

under Rule 408 and stricken from the record. In Ramada Dev. Corp. v. Rauch, 644

3 Additionally, the court even sanctioned defendant for not withdrawing the affidavit. /d.
at “19.
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F.2d 1097, 1106 (5th Cir. 1981), the Fifth Circuit held that an architect’s report
concerning defects in construction which were prepared to facilitate settlement
negotiations was properly excluded. The court also stated that Rule 408 was “designed
to encourage settlements by fostering free and full discussion of the issues.” /d. The
Court rejected defendant’s argument that the report was not offered to prove the
existence of a defect but to prove plaintiff's notice of the alleged defects, and reasoned
that the balance of concerns encompassed in the Rule must be considered. /d. After
balancing those interests, the Court found that the “notice could be effectively proved by
means less in conflict with the policy behind rule 408” and excluded the report. /d. at
1107.4 Likewise, a simple balancing of the considerations in this case would also show
that Defendants use of the mediation presentation would run afoul the policy underlying
Rule 408.

In addition to federal law, Florida law is also consistent with the policy
considerations and exclusions of the above cited cases. In fact, Florida’s version of
Rule 408, encompassed as Florida Statute §90.408, is even broader than its federal
counterpart. lt should be noted that the subcontract between Fluor and Defendants
contains a valid choice of law provision requiring the application of Florida law, which
the Defendants have not contested. See J.C. Renfroe & Sons, Inc. v. Renfroe Japan
Co., No. 3:08-CV-31-J-32MCR, 2009 U.S. Dist. LEXIS 2688, at *24 (M.D. Fla. 2009)
(court applying Florida law in contract dispute with valid choice of law provision in

contract) Like Rule 408, section 90.408 applies to statements and offers made during

* Although Ramada is a Fifth Circuit case, it is still binding precedent in this Circuit,
since it was decided before September 30, 1981. See Bonner v. City of Prichard, 661
F.2d 1206 (11th Cir. 1981) (en banc).
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mediation and other forms of alternative dispute resolution. See, 2004 Fla. Sess. Law.
Ch. 2004-291; Hudson v. Hudson, 600 So.2d 7, 9 (Fla. 4th DCA 1992) (court stating
that the confidentiality of the negotiations should remain inviolate until a written
agreement is executed by the parties and ordering a new trial where the “well was
poisoned” by the admission of an agreement allegedly reached at mediation). Section
90.408 excludes all evidence of offers to compromise as well as any relevant conduct or
statements made in negotiations concerning a compromise. The mediation
communications at issue in this case fall squarely within its purview.

Moreover, the application of Florida law pursuant to the Parties’ choice of law
provision clearly favors the exclusion of the mediation communications even though that
mediation was in a different forum. See, Charles B. Pitts Real Estate, Inc. v. Hater, 602
So. 2d 961 (Fla. 2d DCA 1992). There the court excluded evidence of a settlement
agreement between the defendant and a third-party in a related case. The settlement
agreement in the prior suit, although not an offer of settlement in the current case, was
so closely related to issues in the previous lawsuit that the court stated that it was “quite
analogous to a settlement with a codefendant” and affirmed the trial court in prohibiting
evidence of the settlement. Hater, 602 So.2d at 963. Similarly, in Sea Sea Cabin, Inc.
v. Scott, Burk, Royce & Harris, P.A., 496 So.2d 163 (Fla. 4" DCA 1986), the Court of
Appeals held that a letter to a third party suggesting that the third party was responsible
for plaintiff's damages and proposing a settlement of plaintiff's claim was inadmissible
when offered by the defendant in that litigation.

Defendants’ last point is that even if the mediation submission containing

counsel's statements is privileged, it is still subject to discovery. But this assertion is
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baseless. In order to avoid the mediation privilege, Defendants assert that pursuant to
Rule 26, they can serve a request for admissions asking Fluor if it “otherwise adopted,
authorized or approved the statements in the meditation presentation.” lf Fluor admits
that it authorized its counsel to advocate for and on its behalf during mediation, then
that admission is substantive evidence and the presentation and communications are
likewise evidence. In other words, according to the Defendants, all one needs to do to
avoid the privilege afforded to mediation communications is to send a request for
admissions to a party asking if that party “otherwise adopted, authorized or approved” of
the statements made by counsel during mediation. If that party makes such an
admission then it becomes substantive evidence and loses its privilege. This argument
lacks merit and should be rejected by this Court.

It should be apparent that what the Defendants really want is to use the
statements of Fluor’s counsel at mediation against Fluor. Although under both Rule 408
and Florida Statute §90.408, information that is otherwise discoverable or admissible
does not become inadmissible simply because it is disclosed during mediation. This
otherwise discoverable evidence is not, however, what the Defendants are seeking with
their motion. Defendants are not seeking any tangible “facts” or “evidence” from
admissible or otherwise discoverable sources. Indeed, they can get facts and evidence
through discovery. But what they cannot get through discovery is the legal advocacy,
the statements made during mediation, and the use of the mediation presentation
against Fluor.

CONCLUSION

Whether this Court’s rationale for denying Defendants “Emergency” Motion is

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premised on Federal Rule of Evidence 408, Florida Statute §90.408, a combination of
both, or just common sense and public policy considerations, it should not allow
Defendants to use communications made by counsel for Fluor during a prior mediation
against Fluor in this matter. The communications are privileged. Fluor respectfully

requests this Court enter an Order Denying Defendants’ Emergency Motion.

Dated: May 26, 2010 Respectfully submitted,

/s/ Graham E. Eddy
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CERTIFICATE OF SERVICE
| hereby certify that on this 26th day of May, 2010, | caused the foregoing
FLUOR INTERCONTINENTAL, INC.“S RESPONSE AND MEMORANDUN IN
OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION TO COMPEL RESPONSES
TO DISCOVERY REQUESTS CONCERNING MEDIATION COMMUNICATIONS to be

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